          Case 3:13-cr-04045-MMA                         Document 83               Filed 02/11/14              PageID.312                Page 1 of 2

      ~AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
                 Sheet I
                                                                                                                                   c:~ :   i ED
                                                UNITED STATES DISTRICT COURT                                                    14 FEB I I PH 2: 45
                                          SOUTHERN DISTRICT OF CALIFORNIA      ,i.                                                  !t



                        UNITED STATES OF AMERICA          JUDGMENT   IN A CRIMINAL CASE; ··,.c" ,
                                          v.                                         (For Offenses Committed On or After November 1, 1987)
                                                                                                                         "'..
                                                                                                                                                       (1;r
                                                                                                                                                        nr "!",,,.
                                                                                                                                                           r



                   JAVIER VILLAREAL-GERARDO (05),                                    Case Number: 13CR4045-MMA
                                                                                     Robert A. Garcia
                                                                                     Defendant's Attorney
      REGISTRATION NO. 40760298

      o
      THE DEFENDANT:
      ~ pleaded guilty to count(s) ONE OF THE INFORMATION
      o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not gUilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
      Title & Section                          Nature of OtTense                                                                             Numberlsl
21 :841 (a)( I); 18:2                   Possession of Marijuana with Intent to Distribute, Aiding and Abetting                                1




         The defendant is sentenced as provided in pages 2 through     _2_ _ of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  o Count(s)                                                                          is   0     areD dismissed on the motion of the United States.

  ~ Assessment: $100.00 WArvED



  ~ Fine waived                                      0 Forfeiture pursuant to order filed                                         , included herein.
        IT IS ORDERED that the defendant shaH notifY the United States Attorney for this district within 30 days of any change of namc, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed byJb.j.<l judgment are fully paid. Ifordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material chan~e defendant's economic circumstances.




                                                                                UNITED STATES DISTRICT JUDGE



                                                                                                                                                  13CR4045-MMA
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                              Judgment- Page     2     of       2
 DEFENDANT: JAVIER VILLAREAL-GERARDO (05),
 CASE NUMBER: 13CR4045-MMA
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _____________________ , with a certified copy of this judgment.


                                                                                            UNI1ED STATES MARSHAL

                                                                   By
                                                                        ----------~D~EP~UT~Y--UNI~T~ED~S~T--A~TES~MA~R~S=HAL~------------




                                                                                                                     13CR4045-MMA
